   3:22-cv-03043-MGL-PJG           Date Filed 11/09/22      Entry Number 15      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

Sharon Yvonne Ross,                       )                 C/A No. 3:22-3043-MGL-PJG
                                          )
                           Plaintiff,     )
                                          )
       v.                                 )                          ORDER
                                          )
Billy R. Oswald; Oswald & Burnside, LLC;  )
Billy R. Oswald Law Firm, LLC; and Oswald )
Realty Inc.,                              )
                                          )
                           Defendants.    )
                                          )

       This matter is before the court pursuant to 28 U.S.C. § 636 and Local Rule 73.02(B)(2)

(D.S.C.) on Plaintiff’s motion to disqualify defense counsel (ECF No. 12) and motion to stay the

scheduling order (ECF No. 13). Defense counsel has not filed any opposition to Plaintiff’s motion

to disqualify, and based on the motion and its attachments, appears to agree that new counsel is

warranted.

       Accordingly, it is hereby ORDERED that Plaintiff’s motions are granted. Defendants

shall have fourteen days from the date of this order to obtain new counsel. Although Defendant

Billy R. Oswald may elect to represent himself, the remaining defendants cannot proceed without

counsel. See, e.g., Rowland v. Cal. Men’s Colony, 506 U.S. 194, 201-02 (1993) (explaining that

corporations, partnerships, or associations may appear in federal court only through licensed

counsel); Gilley v. Shoffner, 345 F. Supp. 2d 563, 566-67 (M.D.N.C. 2004) (explaining that this

limitation applies to limited liability companies) (collecting cases).    The scheduling order

deadlines are suspended until further order of the court.




                                            Page 1 of 2
  3:22-cv-03043-MGL-PJG    Date Filed 11/09/22   Entry Number 15   Page 2 of 2




      IT IS SO ORDERED.



                                    __________________________________________
November 9, 2022                    Paige J. Gossett
Columbia, South Carolina            UNITED STATES MAGISTRATE JUDGE




                                  Page 2 of 2
